OO aM te) BBu
ise

CASE NUMBER: 50-2022-CA-009847-XXXX-MB
CASE STYLE: ONEAL, KWAMAIN V VANDERLAAN, JOHN

Search Criteria Search Results Case Info Party Names Dockets & Documents Case Fees Court Events

View documents and order certified copies*. See our eCaseView FAQ for step-by-step guidance and information about what documents are
available online.

*The Social Security office does not accept electronic certified documents. Any certified copy needed for a name change or benefits with the
Social Security office will need to be obtained by mail or in person from one of our office locations.

Document Icons
> Document available. Click icon to view.
Add a certified copy of the document to your shopping cart.
=a] Document is Viewable on Request (VOR). Click to request.
(©) VOR document is being reviewed. Click to be notified when available.

0
Public = [_) VOR = In Process = (2) Page Size: All ¥
Docket Effective Description Notes
Number Date
B 2 10/05/2022 CIVIL COVER SHEET
B 3 10/05/2022 COMPLAINT F/B PLT
1 10/11/2022 DIVISION ASSIGNMENT AD: Circuit Civil Central - AD (Civil)
2B 4 10/11/2022 PAID $401.00 ON RECEIPT $401.00 4640121 Fully Paid
4640121
B 5 01/06/2023 NOTICE OF NOTICE OF UNAVAILABILITY
UNAVAILABILITY
B 6 02/01/2023 SUMMONS ISSUED ZEDRICK@THEBARBERFIRM.US;ZEDRICKBARBERII@GMAIL.COM AS
TO DFT JOHN VANDERLAAN
2B 7 02/01/2023 SUMMONS ISSUED ZEDRICK@THEBARBERFIRM.US;ZEDRICKBARBERII@GMAIL.COM AS
TO DFT CITY OF RIVIERA BEACH
2B 8 02/01/2023 ~~ PAID $20.00 ON RECEIPT $20.00 4763977 Fully Paid
4763977
B 9 02/06/2023 MOTION FOR EXTENSION AND MOTION TO COMPEL F/B PLT
OF TIME
B 10 02/21/2023 NOTICE OF HEARING NOTICE OF HEARING 02/23/2023 09:00:00 AM
B 12 02/23/2023 ANSWER & AFFIRMATIVE AND DEMAND FOR JURY TRIAL OF DEFENDANT CITY OF RIVIERA

DEFENSES BEACH F/B DFT, CITY OF RIVIERA BEACH
Case 9:23-cv-80344-AMC Document 1-2 Entered on FLSD Docket 03/02/2023 Page 2 of 2

DB 13
B 1
B 14

517-f64ea20f-5 1ae~4a29 -8f8e-11492cad1ce4

02/23/2023

02/24/2023

02/24/2023

NOTICE OF APPEARANCE
CIVIL

ANSWER & AFFIRMATIVE
DEFENSES

ORDER GRANTING J
GOODMAN DTD 2/23/23
GRANTING AMENDED
MOTION FOR EXTENSION
OF TIME

F/B JOANNE I NACHIO ESQ OBO DFT, CITY OF RIVIERA BEACH

AMENDED AND DEMAND FOR JURY TRIAL OF DFT F/B DFT CITY OF

RIVIERA BEACH

J GOODMAN DTD 2/23/23 GRANTING AMENDED MOTION FOR
EXTENSION OF TIME
